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                                                          July 21, 2023

  VIA ECF

  Honorable Taryn A. Merkl
  United States Magistrate Judge
  United States District Court, Eastern District of New York
  225 Cadman Plaza East
  Brooklyn, New York 11201

           Re:      Bartlett v. Société Générale de Banque au Liban S.A.L., Case No. 19-cv-00007
                    Motion for Leave to Use Discovery in Another Action

  Dear Magistrate Judge Merkl:

           Pursuant to the Protective Order entered in this case, ECF No. 273,1 Plaintiffs respectfully
  request leave to reference a subset of transactional records produced by third-party banks in this
  litigation in amended complaints due to be filed on September 26, 2023 in a set of cases involving
  largely the same Plaintiffs and many of the same terrorist attacks: Freeman v. HSBC Holdings plc,
  No. 14-cv-6601 (PKC) (CLP) (E.D.N.Y.) (“Freeman I”), Freeman v. HSBC Holdings plc, No. 18-
  cv-7359 (PKC) (CLP) (E.D.N.Y.) (“Freeman II”), and Stephens v. HSBC Holdings plc, No. 18-
  cv-7439 (PKC) (CLP) (E.D.N.Y.) (together, the “Freeman Actions”).2 Plaintiffs have sought the
  position of the third party U.S. clearing banks whose records would be implicated by this motion,
  KBC Bank and Standard Chartered Bank (“SCB”). KBC Bank has stated that it does not object to
  Plaintiffs’ request as set forth herein. Counsel for SCB have advised us that they will oppose
  Plaintiffs’ request. (SCB is a defendant in the Freeman Actions.) Counsel for both third-party
  banks, as well as the court presiding over the Freeman Actions, are copied on this letter.3
          A subset of the records from KBC and SCB are relevant to the Freeman Actions because
  the Bartlett and Freeman cases involve similar theories of liability, and the records indicate that
  certain defendants in the Freeman Actions maintained accounts and received or initiated
  transactions through the United States for certain Hezbollah-affiliated entities and individuals. As
  stated above, Bartlett and the Freeman Actions involve many of the same Plaintiffs and terrorist
  attacks. And, as in Bartlett, the plaintiffs in the Freeman Actions brought claims under the Justice
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           The Protective Order provides that “a Party may move before the Court in this Litigation by letter motion to
  request permission to use Discovery Material in another case or matter.” Id. at 3.
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           Counsel here represents plaintiffs in Freeman I, Freeman II, and a third case, Bowman v. HSBC Holdings
  plc, No. 19-cv-2146 (PKC) (CLP) (E.D.N.Y.), which was recently consolidated with Freeman II. The plaintiffs in
  Stephens are represented by separate counsel. However, as explained herein, the Freeman court has authorized both
  Freeman II and Stephens counsel to coordinate the filing of their respective amended complaints.
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            Given the nature of the relief requested and because KBC Bank does not oppose the motion and SCB (which
  does) is a non-party, Plaintiffs have not styled this as a joint letter regarding a discovery dispute between parties, and
  anticipate that SCB will set forth its position separately.
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  Against Sponsors of Terrorism Act (“JASTA”) against several banks (primarily European banks,
  rather than the Lebanese banks involved in Bartlett). The Freeman Actions plaintiffs alleged that
  these banks provided illegal banking services to agents or components of Iran’s terror apparatus—
  which includes the Islamic Revolutionary Guard Corps (“IRGC”) and Iran’s Lebanese proxy,
  Hezbollah—the terrorist organizations responsible for the attacks in both cases.
           The Freeman and Stephens plaintiffs intend to use these records to bolster their allegations
  in their anticipated amendments of their complaints due on September 26, 2023. Although their
  aiding and abetting claims were initially dismissed, the Freeman II plaintiffs moved to amend their
  complaints on the grounds that subsequent decisions in the Second Circuit (Kaplan v. Lebanese
  Canadian Bank, SAL, 999 F.3d 842 (2d Cir. 2021), and Honickman v. BLOM Bank SAL, 6 F.4th
  487 (2d Cir. 2021)) cast doubt on the court’s bases for dismissal of those claims. Accordingly,
  during a June 27, 2023, status conference, Judge Chen granted the Freeman II plaintiffs leave to
  file an amended complaint (the Stephens plaintiffs may amend as of right). Also at that conference,
  undersigned counsel alerted Judge Chen to the Freeman plaintiffs’ desire to incorporate certain
  evidence obtained during third-party discovery in Bartlett in their forthcoming amended
  complaint.4
          At this stage, the Freeman plaintiffs only intend to include in their amended complaints
  certain information from the records: (1) the names of the alleged Hezbollah-affiliated entities and
  individuals in the transaction summaries; (2) the names of the Freeman defendants which held the
  relevant accounts; (3) the dollar amounts of the transactions processed on behalf of the relevant
  Hezbollah-affiliated customers between 2003-2011; and, where relevant, (4) transactional dates.
  For purposes of the amended complaints, neither the name of the correspondent banks nor the
  routing codes or account numbers of the Hezbollah-affiliated customers need be disclosed, and if
  agreed to by the Freeman court, the Hezbollah-affiliated customers and transactional dates would
  be redacted on the public docket while the unredacted information remains under seal. Counsel for
  the defendants in the Freeman Actions can agree in writing to the terms of the Bartlett Protective
  Order extending those protections to the Freeman Actions until a comparable protective order is
  entered in that case.
           Courts generally permit using discovery obtained in one case in another case, so long as
  there is no evidence that the discovery was obtained in bad faith. “[W]here the discovery sought
  is relevant to a good faith [claim] in the federal case, the mere fact that it may be used in other
  litigation does not mandate a protective order [barring that use].” Dove v. Atl. Cap. Corp., 963
  F.2d 15, 19 (2d Cir. 1992). See also Johnson Foils, Inc. v. Huyck Corp., 61 F.R.D. 405, 410
  (N.D.N.Y. 1973) (“[U]nless it can be shown that the discovering party is exploiting the instant
  litigation solely to assist in other litigation before a foreign forum, federal courts do allow full use
  of the information in other forums. Indeed, there must be some evidence of bad faith in the
  institution of the suit on the part of the discovering party before a court will act to limit the

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             Although discovery was stayed in Freeman pending resolution of the motions to dismiss, that was to reduce
  burden on defendants in that case. No burden will be created here, where the records have already been produced in
  Bartlett and would be discoverable in the Freeman Actions. See Duling, 266 F.R.D. at 77 (permitting use of records
  in “future” litigations). Plaintiffs should not be required to pretend they do not know pertinent facts about the Freeman
  defendants until they survive a motion to dismiss. See Fulwiley v. United States, No. 07-cv-1121 (NAM) (GHL), 2009
  WL 10722253, at *2 (N.D.N.Y. Feb. 10, 2009) (“the purpose of the liberal federal court discovery rules is to make a
  trial less a game of blind man’s bluff and more a fair contest. In this fashion it is more likely that the truth will be
  disclosed and justice accomplished.”).
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  discovery process.”). As courts have noted, “such use across proceedings promotes efficiency and
  avoids waste.” Duling, 266 F.R.D. at76. See also Cipollone v. Liggett Grp., Inc., 113 F.R.D. 86,
  92 (D.N.J. 1986) (explaining that “consistent with” Fed. R. Civ. P. 1, which emphasizes “the just,
  speedy, and inexpensive determination of every action,” “a number of courts have rejected requests
  to limit the use of discovery to the litigation in which it is initially obtained.”).
          The Bartlett case was clearly brought in good faith; indeed, the case has survived multiple
  motions to dismiss. And while courts have noted a concern that parties in state court or in criminal
  cases could bring federal civil cases “chiefly for the purpose of exploiting the liberal discovery
  devices available in federal civil actions,” Dove, 963 F.2d at 19, both Bartlett and Freeman are
  civil cases in this federal district. The subpoenas on KBC and SCB were also made in good faith
  and were tailored to elicit evidence specifically relevant to the Bartlett Defendants. In fact, the
  SCB subpoena was issued by Plaintiffs at the Court’s direction—and at the Defendants’ request.
  See 12/13/2021 Minute Order; conference transcript of same date, generally from 21:17-23:1-11.
  The subpoenas mirror the requests served on Defendants, and “the Court has [had] little difficulty
  concluding that discovery” on the vast majority of the names in those requests “may yield relevant
  evidence” in this matter. Bank Secrecy Order, 2023 WL 2734641, at *8.5 Because the records were
  properly requested, there is no reason to limit their use in other cases. See Devlin v. Transportation
  Commc’ns Int’l Union, No. 95-cv-0752-JFK-JCF, 2000 WL 28173, at *7 (S.D.N.Y. Jan. 14, 2000)
  (“the defendants are confusing the initial determination of whether information should be disclosed
  with the purposes for which it may thereafter be used”) (citing Oppenheimer Fund, Inc. v. Sanders,
  437 U.S. 340, 352 n.17 (1978)).
          Moreover, the records are not themselves “embarrassing” to any third parties, unlike the
  employee personnel files at issue in Duling, which detailed “the employees’ compensation,
  discipline, medical conditions, financial accounts, background checks, child support obligations,
  legal matters, police investigations, immigration status and arbitrations,” 266 F.R.D. at 60—and
  which decision permitted using documents in other cases. They are (facially) commercial
  transactions, not personnel files (and thus are not even “financial accounts” as in Duling), and
  Plaintiffs do not intend to reference the production of the records themselves or names of
  transactional parties or counterparties not alleged to be associated with Hezbollah or the IRGC.
  Finally, if and when the Freeman Actions survive motions to dismiss and these records become
  relevant in discovery in those cases, the parties in those cases will enter into a protective order in
  that case and the Freeman plaintiffs will agree to the same level of protection for the use of the
  records in that case as ordered in this one.
          Finally, also as stated above, KBC does not oppose this motion. SCB is differently situated
  because it is a defendant in the Freeman Actions.6 However, just because “discovery will be
  detrimental to its position in parallel lawsuits …. is not a reason for a court to impose a protective
  order.” United States v. Hooker Chemicals & Plastics Corp., 90 F.R.D. 421, 426 (W.D.N.Y. 1981).

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           And, indeed, they resulted in the production of relevant evidence in this case, including over 3,000
  transactions totaling over $850 million involving Bartlett Defendants and alleged Hezbollah-affiliated entities and
  individuals. See Pls. Reply in Support of Motion to Compel, ECF No. 295 at 36.
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           Plaintiffs’ counsel provided to SCB a preliminary list of individuals and entities they believe to be relevant
  to the Freeman/Stephens amended complaints and have confirmed that they are solely interested in transactions where
  defendants in the Freeman Actions maintained accounts and received or initiated transactions through the United
  States for Hezbollah-affiliated entities and individuals.
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         In sum, subject to the confidentiality safeguards described above and in the Proposed Order
  attached as Exhibit 1 herein, Plaintiffs respectfully request that the Court permit Plaintiffs to
  reference certain information obtained in Bartlett third-party discovery in the Freeman cases.

                                                 Respectfully submitted,


                                                 /s/ Gary M. Osen


  cc:    Hon. Pamela Chen, U.S.D.J.
         All counsel (via ECF)
         Counsel for KBC Bank
         Counsel for Standard Chartered Bank
         Counsel for Stephens plaintiffs
